Case 6:22-cv-00047-WWB-RMN Document 66 Filed 05/30/23 Page 1 of 3 PageID 2231
  USCA11 Case: 20-11266 Document: 79-1 Date Filed: 05/30/2023 Page: 1 of 1


                          UNITED STATES COURT OF APPEALS
                             FOR THE ELEVENTH CIRCUIT
                             ELBERT PARR TUTTLE COURT OF APPEALS BUILDING
                                           56 Forsyth Street, N.W.
                                           Atlanta, Georgia 30303

 David J. Smith                                                                     For rules and forms visit
 Clerk of Court                                                                     www.ca11.uscourts.gov


                                          May 30, 2023

 Clerk - Middle District of Florida
 U.S. District Court
 401 W CENTRAL BLVD
 ORLANDO, FL 32801

 Appeal Number: 20-11266-AA
 Case Style: MidAmerica C2L Incorporated, et al v. Siemens Energy Incorporated
 District Court Docket No: 6:17-cv-00171-PGB-LRH

 A copy of this letter, and the judgment form if noted above, but not a copy of the court's
 decision, is also being forwarded to counsel and pro se parties. A copy of the court's decision
 was previously forwarded to counsel and pro se parties on the date it was issued.

 The enclosed copy of the judgment is hereby issued as mandate of the court. The court's opinion
 was previously provided on the date of issuance.

 Clerk's Office Phone Numbers
 General Information: 404-335-6100          Attorney Admissions:         404-335-6122
 Case Administration: 404-335-6135          Capital Cases:               404-335-6200
 CM/ECF Help Desk: 404-335-6125             Cases Set for Oral Argument: 404-335-6141




 Enclosure(s)
                                                                     MDT-1 Letter Issuing Mandate
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  USCA11 Case: 20-11266 Document: 79-2 Date Filed: 05/30/2023 Page: 1 of 2




                                          In the
                      United States Court of Appeals
                                 For the Eleventh Circuit
                                  ____________________

                                       No. 20-11266
                                  ____________________

            MIDAMERICA C2L INCORPORATED,
            a Nevada corporation,
                                                                 Plaintiff-
                                                       Counter Defendant-
                                                               Appellant,
            SECURE ENERGY, INC.,
            a Nevada Corporation,
                                                         Plaintiff-Appellant,
            versus
            SIEMENS ENERGYINC.,
            a Delaware corporation,


                                                               Defendant-
                                                         Counter Claimant-




 ISSUED AS MANDATE: 05/30/2023
Case 6:22-cv-00047-WWB-RMN Document 66 Filed 05/30/23 Page 3 of 3 PageID 2233
  USCA11 Case: 20-11266 Document: 79-2 Date Filed: 05/30/2023 Page: 2 of 2




            2                                                            20-11266

                                                                         Appellee.


                                  ____________________

                         Appeal from the United States District Court
                              for the Middle District of Florida
                          D.C. Docket No. 6:17-cv-00171-PGB-LRH
                                  ____________________

                                         JUDGMENT
            It is hereby ordered, adjudged, and decreed that the opinion is-
            sued on this date in this appeal is entered as the judgment of this
            Court.
                                   Entered: March 31, 2023
                         For the Court: DAVID J. SMITH, Clerk of Court




 ISSUED AS MANDATE: 05/30/2023
